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 6
   Attorneys for Plaintiff
 7 United States of America

 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                              CASE NO. 1:22-CR-00213-JAM-BAM

12                                 Plaintiff,               GOVERNMENT’S EXHIBIT LIST

13                           v.                             DATE: February 5, 2024
                                                            TIME: 9:00 a.m.
14   CHARLES BARRETT,                                       COURT: Hon. John A. Mendez
15                                 Defendant.

16

17

18           The United States, by and through its undersigned counsel, hereby submits the following list of

19 exhibits it intends to introduce in its case-in-chief:

20
       EXHIBIT DESCRIPTION                           BATES RANGE              IDENTIFIED ADMITTED
21
       NO.
22
       1            Walk through video – Puppy BARRETT_00000723
23
                    Dome Swim Hole
24
       2            Photo of swim hole               BARRETT_00011027
25
       3            Group photo at Puppy Dome BARRETT_00000542
26
                    provided by Tim Real
27
       4            Group photo with metadata        BARRETT_00000544
28


       GOVERNMENT’S EXHIBIT LIST                            1
          Case 1:22-cr-00213-JAM-BAM Document 206 Filed 02/01/24 Page 2 of 4

 1
     5            Two photos of employee       BARRETT_00011030-
 2
                  housing                      BARRETT_00011031
 3
     6            Photo of parking lot/        BARRETT_00015466
 4
                  Dumpsters
 5
     7            Photo of the general store   BARRETT_00011039
 6
     8            Six photos of the employee   BARRETT_00011032-
 7
                  shower                       BARRETT_00011033,
 8
                                               and
 9
                                               BARRETT_00011035-
10
                                               BARRETT_00011038
11
     9            Meadow video                 BARRETT_00015462
12
     10           Meadow photo                 BARRETT_00015464
13
     11           Evening forest photo         BARRETT_00015463
14
     12           Evening forest video         BARRETT_00015459
15
     13           Photo of K.G. at Cathedral   BARRETT_00015294
16
                  Lake hike
17
     14           Charlie Barrett interview    BARRETT_00010799-
18
                  transcript                   BARRETT_00010940
19
     15           K.G. Timeline                BARRETT_00000160-
20
                                               BARRETT_00000167
21
     16           Safe Outside Survey          BARRETT_00011461
22
     16.1         Responses from K.G.          BARRETT_00011461
23
     16.2         Responses from S.F.          BARRETT_00011461
24
     17           Text messages from Barrett   BARRETT_00000174
25
                  to K.G.                      Digital Evidence Item-
26
                                               13
27

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     GOVERNMENT’S EXHIBIT LIST                       2
          Case 1:22-cr-00213-JAM-BAM Document 206 Filed 02/01/24 Page 3 of 4

 1
     18           Instagram conversation        BARRETT_00016059-
 2
                  between Barrett and K.G.      BARRETT_00016060
 3
     19           Photograph of K.G. and        Digital Evidence Item-4
 4
                  Barrett
 5
     20           Recorded calls – Note Calls   BARRETT_00015302;
 6
                                                BARRETT_00011153
 7
                                                and
 8
                                                BARRETT_00015315;
 9
                                                BARRETT_00011155
10
     20.1         Recorded calls – Note Calls   BARRETT_00015302;
11
                  Audio only                    BARRETT_00011153
12
     20.2         Recorded calls – Note Calls   BARRETT_00013461-
13
                  redacted clip of transcript   BARRETT_00013463;
14
                                                BARRETT_00014915-
15
                                                BARRETT_00014916
16
     21           Recorded call – Something     BARRETT_00015382;
17
                  Will Happen                   BARRETT_00000765
18
     21.1         Recorded call – Something     BARRETT_00015382;
19
                  Will Happen (Audio only)      BARRETT_00000765
20
     21.2         Recorded call – Something     BARRETT_00015701
21
                  Will Happen (Redacted clip
22
                  of transcript)
23
     22           Recorded call – Just Lie      BARRETT_00013008;
24
                                                BARRETT_00015582
25
     22.1         Recorded call – Just Lie      BARRETT_00013008;
26
                  (Audio only)
27

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     GOVERNMENT’S EXHIBIT LIST                        3
            Case 1:22-cr-00213-JAM-BAM Document 206 Filed 02/01/24 Page 4 of 4

 1
       22.2          Recorded call – Just Lie        BARRETT_00015582
 2
                     (Redacted clip of transcript)
 3
       23            Photograph of S.F.              BARRETT_00015456
 4
       24            Photograph of E.B.              BARRETT_00015454
 5
       25            Photograph of J.V.              BARRETT_00016067
 6
       26            Photograph of Barrett           BARRETT_00016068
 7

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12
                                  ADDITIONAL EXHIBITS DURING TRIAL
13
              Leave is respectfully requested to include such other and additional exhibits as may become
14
     appropriate during the course of the trial.
15

16    Dated: February 1, 2024                                PHILLIP A. TALBERT
                                                             United States Attorney
17

18                                                    By: /s/MICHAEL G. TIERNEY
                                                          MICHAEL G. TIERNEY
19
                                                          ARIN C. HEINZ
20                                                        Assistant United States Attorneys

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      GOVERNMENT’S EXHIBIT LIST                          4
